                    Case 1:23-mj-00117-CL            Document 1          Filed 07/17/23         Page 1 of 1

AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT
                                                             for the
                                                     District of Oregon

                 United States of America                        )
                               v.                                )
                                                                 )     Case No.
                    NEGASI ZUBERI
              aka JUSTIN JOSHUA HYCHE                            )                 1:23-mj •   l \'::J- -CL-
                                                                 )
                                                                 )
                                                                 )
                          Defendant(s)
                            CRIMINAL COMPLAINT
              BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               July 15, 2023                 in the county of             Klamath            in the
_ _ _ _ _ _ District of                   Oregon             , the defendant(s) violated:

            Code Section                                                  Offense Description
18 U.S.C. § 1201                            Interstate Kidnapping




          This criminal complaint is based on these facts:
Please see attached Affidavit of FBI Travis Gluesenkamp.




          ~ Continued on the attached sheet.
                                                                                 S/Travis Gluesenkamp




Attested to by the applicant ~rdance with the requirements of Fed.
telephone at 3:55       a.m.L/

Date:          7 /17/23


City and state:                                                                                            istrate Judge
